                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION


CHARLES E. DUKE and                       )           CIVIL ACTION
AERIAL SOLUTIONS, INC.,                   )
                                          )
                  Plaintiffs,             )
                                          )           NO.: 3:05-CV-538
            v.                            )           (Related to Case No. 3:07-cv-0007)
                                          )
ROLLS ROYCE CORPORATION                   )
ROLLS ROYCE NORTH AMERICA, INC.           )
STANDARD AERO INC., and                   )
STANDARD AERO LIMITED ,                   )
                                          )
                  Defendants              )
__________________________________________)
                                          )
AERIAL SOLUTIONS, INC.,                   )
                                          )
                  Plaintiff,              )
                                          )
            v.                            )
                                          )
ALLISON ENGINE COMPANY, INC.              )
d/b/a ROLLS-ROYCE ALLISON;                )
ALLISON ENGINE COMPANY;                   )
GENERAL MOTORS CORPORATION;               )
and GENERAL MOTORS CORPORATION            )
GAS TURBINE DIVISION.                     )
                                          )
                  Defendants.             )
__________________________________________)


  DEFENDANTS ROLLS ROYCE CORPORATION, ALLISON ENGINE COMPANY,
   INC. d/b/a ROLLS-ROYCE ALLISON, ALLISON ENGINE COMPANY, ROLLS
 ROYCE NORTH AMERICA, INC. AND GENERAL MOTORS CORPORATION AND
  GENERAL MOTORS CORPORATION GAS TURBINE DIVISION’S RULE 26(a)(1)
                         INITIAL DISCLOSURES

   Defendants Rolls-Royce Corporation, sued herein as Rolls Royce Corporation, Rolls Royce

North America, Inc.; Allison Engine Company, Inc. d/b/a Rolls-Royce Allison; and Allison



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Engine Company, (collectively, “RRC”); and Defendant General Motors Corporation, sued

herein as "General Motors Corporation, General Motors Corporation, Allison Gas Turbine

Division,” (“GM”); these Defendants (collectively, the “Allison Defendants” or “Allison”),

provide the following initial disclosures in accordance with Federal Rule of Civil Procedure

26(a)(1). Allison may need to supplement these disclosures as a result of discovery received

from plaintiff, co-defendants, as a result of matters learned during discovery, or as a result of

rulings by the Court.

       Rule 26(a)(1)(A). The name and, if known, the address and telephone number of

each individual likely to have discoverable information that the disclosing party may use to

support its claims or defenses, unless solely for impeachment, identifying the subjects of the

information:

       Because discovery and Allison’s investigation have only recently begun, Allison cannot

identify all witnesses who may have knowledge of facts relevant to the subject matter of this

action. The following is a list of the witnesses of whom Allison is aware that may have relevant

knowledge:

       -- Charles E. Duke (plaintiff) – may have knowledge concerning the facts and

circumstances of the accident, plaintiff’s alleged injuries, alleged damages and evidence

supporting his claims against Allison. Mr. Duke may be contacted through his counsel.

       -- Representatives of Standard Aero, including but not limited to Doug Roberge, Brian

Hughes, Scott Kern, Brent Junkin, Wayne Thomas, Tom Roche, Ralph Eschenwecker, Kerry

Boucher, Peter Novy, Greg Parsons, Jason Campbell, Daniel Junkman and Jon Stieglitz

(defendant) – may have knowledge concerning the facts and circumstances regarding the subject

accident, investigation regarding the accident and the installation, maintenance, overhaul, repair,




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or service of the subject engine involved in the accident. Defendant may be contacted through

its counsel.

        -- Representatives of Southeast Helicopters, including, but not limited to John V. Corley,

Philip Hutto and Leroy Henry – may have knowledge concerning the facts and circumstances

regarding the subject accident and investigation regarding the accident and the installation,

maintenance, shipping, overhaul, repair or service of the subject engine involved in the accident.

Defendant may be contacted through its counsel.

        -- Representatives from Allison (defendant) – may have knowledge concerning the

Allison Model 250 engine and its components (including the compressor adapter coupling) – in

support of defense by Allison that the part that allegedly failed is not defective. Testimony is

also expected regarding its investigation of the subject accident and inspection of the helicopter

and/or its components.      Allison can be contacted through its counsel in this case, Daniel

Stephenson or Brittany Schultz.

        1.     Rick Thorpe is an air safety investigator at Rolls Royce Corporation. He may

testify regarding his investigation of the subject accident.

        2.     J. Ronald Roessler is an engineer at Rolls Royce Corporation. He may testify

regarding his knowledge of the engine in the helicopter involved in the accident.

        3.     Jim Skinner is a manager at Rolls Royce Corporation and was a former Model

250 Engine Chief Project Engineer. He may testify regarding his knowledge of the engine in the

helicopter involved in the accident.

        4.     Barry Rohm is a retired employee of Rolls Royce Corporation and was the former

Engineering Director of Product Assurance. He may testify regarding his knowledge of the

engine in the helicopter involved in the accident.




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       5.      Gary Souza is the Model 250 Engine Chief Project Engineer at Rolls Royce

Corporation.    He may testify regarding his knowledge of the design, manufacture, and

development of the engine in the helicopter in the accident.

       6.      Ross Belloni is the Model 250 Product Chief at Rolls Royce Corporation. He may

testify regarding his knowledge of the design, manufacture, and development of the engine in the

helicopter in the accident.

       7.      Ted McKain is the former Model 250 Manager of Product Airworthiness at Rolls

Royce Corporation. He may testify regarding his knowledge of the design, manufacture, and

development of the engine in the helicopter in the accident.

       8.      Norm Egbert is the Vice President of Engineering at Rolls Royce Corporation.

He may testify regarding his knowledge regarding the design, manufacture, and development of

the engine in the helicopter in the accident.

       9.      Tom Piercy is an employee of Rolls Royce Corporation. He may testify regarding

his knowledge of the design, manufacture, and development of the engine in the helicopter in the

accident.

       10.     Wayne Hepfer is a retired Failure Analyst of Rolls Royce Corporation. He may

testify regarding his knowledge of the design, manufacture, and development of the engine in the

helicopter in the accident.

       11.     Brian Stevenson is a former Design Chief Engineer for the Model 250 engine at

Rolls Royce Corporation. He may testify regarding his knowledge regarding the design, testing,

manufacture, and development of the engine in the helicopter in the accident.




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       12.     Greg Manning is a former Design Engineer at Rolls Royce Corporation. He may

testify regarding his knowledge regarding the design, testing, manufacture, and development of

the engine in the helicopter in the accident.

       13.     John Michael is a Model 250 Safety engineer at Rolls Royce Corporation. He

may testify regarding his knowledge of the design, manufacture, testing and development of the

engine in the helicopter in the accident.

       14.     Craig Heathco is a former Chief Designer of Model 250 Engines at Rolls Royce

Corporation.    He may testify his knowledge of the design, manufacture, maintenance and

development of the engine in the helicopter in the accident.

       15.     Don Risser is a DER at Rolls Royce Corporation. He may testify regarding his

knowledge of the approval of the design, manufacture, and development of the engine in the

helicopter in the accident.

       16.     Jeff Higbie is a Design Engineer at Rolls Royce Corporation. He may testify

regarding his investigation of the compressor adapter coupling and his knowledge regarding the

design, manufacture, testing and development of the engine in the helicopter in the accident.

       17.     Bill Gerhart is a retired former Manager of Customer Support at Rolls Royce

Corporation. He may testify regarding engine maintenance and installation procedures of the

engine in the helicopter in the accident.

       18.     Jeff Edwards is an accident investigation Manager at Rolls Royce Corporation.

He may testify regarding his investigation of the subject accident.

       19.     John Andrews is a retired former DER at Rolls Royce Corporation. He may

testify regarding his knowledge regarding the approval of design, manufacture, and development

of the engine in the helicopter in the accident.




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       20.     Robert Higbie is a former Design Engineer at Rolls Royce Corporation. He may

testify regarding the compressor adapter coupling and his knowledge regarding the design,

manufacture, and development of the engine in the helicopter in the accident.

       21.     Mark Winely is a Chief Design Engineer at Rolls Royce Corporation. He may

testify regarding the subject compressor adapter coupling and his knowledge regarding the

design, manufacture, and development of the engine in the helicopter in the accident.

       22.     Al Cookerly is a Chief Design Engineer at Rolls Royce Corporation. He may

testify regarding the compressor adapter coupling and his knowledge of the design, manufacture,

and development of the engine in the helicopter in the accident.

       23.     Sally Randall is the former Chief Project Engineer for Model 250 engines at Rolls

Royce Corporation. She may testify regarding the subject compressor adapter coupling and her

knowledge of the design, manufacture, and development of the engine in the helicopter in the

accident.

       24.     Mike Haerr is a Chief Airworthiness Engineer at Rolls Royce Corporation. He

may testify regarding the subject compressor adapter coupling and his knowledge regarding the

design, manufacture, and development of the engine in the helicopter in the accident.

       25.     Andrew Maasch is a Maintenance Repair and Overhaul Network Executive at

Rolls Royce Corporation.      He may testify regarding his knowledge regarding the design,

manufacture, and development of the engine in the helicopter in the accident.

       26.     Julie Holland is a Chief Project Engineer at Rolls Royce Corporation. She may

testify regarding her knowledge of the design, manufacture, and development of the engine in the

helicopter in the accident.




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       27.    Mike Spratt is a Chief Design Engineer at Rolls Royce Corporation. He may

testify regarding his knowledge of the design, manufacture, maintenance and development of the

Model 250 engine.

       28.    Rege Hall is a Manager of Customer Support at Rolls Royce Corporation. He

may testify regarding his knowledge of the design, manufacture, maintenance and development

of the Model 250 engine.

       29.    Tim McGrath is a Director, Sales Helicopters and Small Gas Turbines at Rolls

Royce Corporation. He may testify regarding his knowledge of the sales and marketing of the

Model 250 engine.

       30.    Jeff White is an Assistant, Chief Design Engineer at Rolls Royce Corporation. He

may testify regarding his knowledge regarding the design, manufacture, and development of the

Model 250 engine.

       31.    Kevin Griggs is a Regional Manager at Rolls Royce Corporation. He may testify

regarding his knowledge of the maintenance, design, manufacture, and development of the

Model 250 engine.

       32.    Bill Rogers is a Development Program Engineer at Rolls Royce Corporation. He

may testify regarding his knowledge of the design, manufacture, and development of the Model

250 engine.

       33.    Mary Lee Gambone is a Chief Engineer of Materials, Processes and Repairs. She

may testify regarding her knowledge of the design, manufacture, and development of the Model

250 engine.




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          34.   Robert Ketchum is a Senior Air Safety Investigator at Rolls Royce Corporation.

He may testify regarding his investigation of Model 250 incidents.

          35.   Sue Murray is a Director of Technology at Rolls Royce Corporation. She may

testify regarding her knowledge of the design, manufacture, and development of the Model 250

engine.

          36.   Nick Cherolis is a Technical Lead of Failure Analysis at Rolls Royce Corporation.

He may testify regarding his investigation and knowledge regarding the design, manufacture, and

development of the Model 250 engine.

          37.   Susan Watkin is a former Model 250 Chief Project Engineer at Rolls Royce

Corporation.    She may testify regarding her knowledge of the design, manufacture, and

development of the Model 250 engine.

          38.   Robin Parsley is a Model 250 Service Engineer at Rolls Royce Corporation. She

may testify regarding her knowledge of the design, manufacture, service and development of the

Model 250 engine.

          39.   Ben Kesler is a Regional Support Manager at Rolls Royce Corporation. He may

testify regarding his knowledge of the maintenance, design, manufacture and development of the

Model 250 engine.

          40.   Ben Doll is a System Safety engineer at Rolls Royce Corporation. He may

testified regarding his knowledge of the design, manufacture and development of the Model 250

engine.




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          41.   J.H. Mills is a former Rolls Royce Corporation employee.          He may testify

regarding his knowledge of the Model 250 engine.

          42.   K.H. Ryan is a retired Rolls Royce Corporation Failure Analyst. He may testify

regarding his knowledge of the Model 250 engine.

          43.   Fred Holdcroft is a former Rolls Royce Corporation employee. He may testify

regarding his knowledge of the Model 250 engine.

          44.   Myra Whitaker is a DLA Team Lead at Rolls Royce Corporation. She may testify

regarding her knowledge of warranty processes and procedures pertaining to the Model 250

engine.

          45.   Michael Weber is a Senior Air Safety Investigator at Rolls Royce Corporation.

He may testify regarding his knowledge and investigation of the Model 250 engine.

          46.   Richard McCrockin is a Business Development Lead-Operations at Rolls Royce

Corporation. He may testify regarding his knowledge of the Model 250 engine.

          -- Representatives of Air Salvage of Dallas, (non-party) – may testify regarding any

inspections, maintenance, repairs on the subject helicopter and/or its component parts, including

the compressor adapter coupling.

          -- Representatives of The Boeing Company, including Adrian Booth (non party) – may

testify regarding any inspections, maintenance, repairs on the subject helicopter and/or its

component parts, including the compressor adapter coupling.

          -- Representatives from AERO Maritime, Mesa, AZ, including Chuck Hagen – may have

knowledge concerning the facts and circumstances and investigation regarding the accident and

the installation, maintenance, shipping, overhaul, repair or service of the subject engine involved

in the accident.




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       -- Representatives of Aerial Solutions, Inc. including but not limited to Ted McAllister,

William C. Cox, II, William C. Cox, III, Alan Harrison, Emily Webber, Callie Markovsky,

Bruce Dyches, Heather White, Brian Lacks and Dave Feldman and other Aerial Solutions

helicopter pilots – may testify regarding the overall corporate structure and business of Aerial

Solutions and concerning the subject helicopter and its components parts that were maintained

and/or serviced by Aerial Solutions. Representatives may also testify regarding the facts and

circumstances of the accident and Mr. Duke’s employment with Aerial Solutions.             Aerial

Solutions may be contacted through its counsel.

       -- All persons having examined the helicopter or the engine or compressor adapter

coupling in question after the incident of December 9, 2004, to the present – may testify

concerning the helicopter, the engine or compressor adapter coupling and the action being taken

by plaintiff at the time the alleged incident occurred. A representative from Allison, Rick

Thorpe, examined and photographed the helicopter and its component parts after the accident.

Allison also understands that a representative from the NTSB, Standard Aero, Aerial Solutions

and The Boeing Company examined the helicopter and its component parts.

       -- Representatives of the National Transportation Safety Board, Federal Aviation

Administration or any other agency of federal government which investigated the accident of

December 9, 2004, including James R. Coppitt (FAA), James E. Allen (FAA), Richard Litka

(FAA), Frank McGill (NTSB Investigator In-Charge), Josh Cawthra (NTSB), Lindsey

Cunningham (NTSB) and J. Cawthra, (Government Investigator), William R. Rossey, Jr.

(materials engineer) – may testify regarding the details of the accident, accident damage, and the

alleged fracture of the compressor adapter coupling. The addresses of NTSB and FAA are

available to the public.




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        -- Representatives of the police, sheriff, fire and emergency medical services that

responded to or investigated the accident of December 9, 2004, including but not limited to the

East Baton Rouge Sheriff’s Department, Pride Fire Department and/or Chief Tucker, Louisiana

State Police Haz Mat Team, Baton Rouge Airport Police, Zachary Police Department and Baton

Rouge EMS – may testify concerning the details of the accident, accident damage, injuries to

plaintiff, damage to the helicopter and plaintiff’s damages. Allison does not know at this time

whether persons from the local police, sheriff or fire departments responded to this accident, but,

if so, Allison expects their identities to be revealed in discovery.

        -- Candice Duke (non-party) – may have knowledge concerning the facts and

circumstances of the accident and/or plaintiff’s alleged injuries, alleged damages and evidence

supporting Mr. Duke’s claims against Allison.

        --     Any and all witnesses who provided helicopter/aerial saw training to Charles

Duke;

        --     Any and all witnesses who provided medical care for Charles Duke;

        --     Any and all witnesses designated by the other parties in their disclosures or

during discovery; and

        --     Custodians of records as required to establish evidentiary foundations.

        At this time, Allison does not have enough information to determine all of individuals

who might be witnesses in this action. Allison reserves the right to amend or modify this list as

Allison continues to investigate this case and continues discovery.




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       Rule 26(a)(1)(B) Documents and Things. A copy of, or a description by category

and location of, all documents, data compilations, and tangible things that are in the

possession, custody or control of the party and that the disclosing party may use to support

its claims or defenses, unless solely for impeachment:

       Many of the following documents and other evidentiary materials, or copies thereof, may

be obtained at Dykema Gossett, PLLC, 39577 Woodward Avenue, Suite 300, Bloomfield Hills,

Michigan 48304, counsel for Allison.       Other documents may be obtained through public

information sources or though counsel for the parties. In addition, given the early stage in this

case, some of the documents were generically identified and are not currently in the possession

of Allison.

       1.     NTSB Materials Laboratory Factual Report No. 05-026;

       2.     Pilot/Operator Aircraft Accident Report, NTSB Form 6120.1;

       3.     NTSB Factual Report, DFW05FA032;

       4.     Any and all documents related to the design and operation of the compressor
              adapter coupling and/or shafting system on Model 250 C20 engines;

       5.     Any and all documents related to the investigation of failures of the compressor
              adapter coupling on Model 250 C20 engines;

       6.     All correspondence between and among Standard Aero and Rolls-Royce
              concerning the compressor adapter coupling and/or shafting system on Model 250
              C20 engines and/or operational parameters;

       7.     Any and all reports and supporting documents, materials and files of expert
              witnesses;

       8.     The subject helicopter pilot ground and flight procedures training manual;

       9.     Any and all documents relating to overhauls of the engine bearing serial number
              CAE 270419;




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10.   Any and all documents relating to the use of the engine bearing serial number
      CAE 270419 prior to its installation in the subject helicopter that is the subject
      of this lawsuit;

11.   Any and all documents or records regarding any testing performed on the shafting
      system components on the Model 250 C20 engine;

12.   Documents related to the training, qualifications and experience of Aerial
      Solutions' pilots;

13.   Any and all documents produced by Allison;

14.   Any and all documents produced by Plaintiff Standard Aero, Southeast
      Helicopters and/or Aerial Solutions, whether formally through
      disclosure and discovery or informally;

15.   RRC Engine Investigation Report;

16.   RRC Metallurgical Investigation Report, 05FA8-131;

17.   RRC Accident Report (Red Top). A/I-2004-156;

18.   RRC Accident Follow Up Report A/I-2004-156;

19.   Certificate of Conformance of CAE 270419;

20.   Model 250 Engine Allison Aircraft Delivery Report for CAE 270419;

21.   Packing Room Check Sheet for Engine CAE 270419;

22.   Packing Room Check Sheet for Gearbox S/N 27421;

23.   Packing Room Check Sheet for Turbine Unit S/N 25134;

24.   Packing Room Check Sheet for Compressor Unit S/N 41685;

25.   Interoffice Memorandum regarding Accident Mexico – Procuraduria General De
      La Republica, CAE 270419;

26.   Model 250 Report dated 11/3/94;

27.   Modification Record, Engine Assembly records for CAE 270419;

28.   Service Records for Engine CAE 270419;

29.   Commercial Service Letter CSL-A-1143;



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30.   Commercial Service Letter 1236;

31.   Commercial Engine Bulletin 1392;

32.   Commercial Service Letter 1238;

33.   Box Fax 03AMC025;

34.   Diagrams of compressor adapter couplings;

35.   Commercial Engine Bulletin 1325;

36.   PMI B0014;

37.   AEM CW-113412;

38.   AEM CW-116043;

39.   Test Request AW 0200-51-501;

40.   Engine Maintenance Records for CAE 270419;

41.   Overhaul Manual for Model 250 engines;

42.   Illustrated Parts Catalog for Model 250 engines;

43.   Operation and Maintenance Manual for Model 250 engines;

44.   RRC will also produce the materials that were gathered and produced in the
      Thomas/Laughman v. Extex matter subject to entry of a protective order. GM/RR
      00001-009736;

45.   Statement of Compliance with the FAR DERY-410114-CE-9071;

46.   FAA Notice of Proposed Rulemaking, 14 CFR 39, FAA Docket No.
      FAA-2004-18515;

47.   FAA Airworthiness Directive No. 2004-26-09;

48.   Special Airworthiness Information Bulletin, NE-04-58 from Aircraft
      Certification Service, Washington, D.C., U.S. Department of
      Transportation, FAA;

49.   Federal Aviation Regulations;

50.   FAA Advisory Circular 20-62D;



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       51.    The compressor adapter coupling and any alleged defective component(s);

       52.    The engine and/or compressor adapter coupling inspection and
              maintenance records, if available;

       53.    Any records of the incident, including reports, investigations,
              photographs or other correspondence from Standard Aero, Southeast Helicopters,
              NTSB and/or Aerial Solutions;

       54.    Any medical records and/or reports regarding Charles Duke dated before and after
              the December 9, 2004 accident. These documents are presumed to be under
              Plaintiff’s control;

       55.    Photographs of the helicopter and component parts, including the
              compressor adapter coupling reflecting its condition before and after
              the incident on December 9, 2004;

       56.    Notes or recordings from examinations of the helicopter and its
              component parts after the incident of December 9, 2004, if any;

       57.    Charles Duke’s employment file;

       58.    FAA airman certification records and Regulatory Support Division
              records regarding Charles Duke;

       59.    FAA mechanic licensing documents pertaining to Mr. Duke;

       60.    Witness statements, if any. Allison currently has no witness
              statements concerning the incident of December 9, 2004;

       61.    Aerial Solutions Aerial Tree Trimming Brochure;

       62.    ANSI Standard A300 (2000) - "Tree, Shrub, and Other Woody Plant Maintenance
              - Standard Practices (Pruning);"

       63.    ANSI Standard Z133;

       64.    FAA Advisory Circular - AC 133-1A - External Load Operations; and

       65.    The flight manual for the subject helicopter.

       Allison will not disclose otherwise confidential, proprietary, non-exportable and

protected documents, except pursuant to a court-approved protective order.




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       Rule 26(a)(1)(C).    A computation of any category of damages claimed by the

disclosing party, making available for inspection and copying as under Rule 34 the

documents or other evidentiary materials, not privileged or protected from disclosure, on

which such computation is based, including materials bearing on the nature and extent of

injuries suffered:

              Not applicable.

       Rule 26(a)(1)(D). Any insurance agreement under which any person carrying on an

insurance business may be liable to satisfy part or all of the judgment which may be

entered in the action or to indemnify or reimburse for payments made to satisfy the

judgment:

       Allison has sufficient insurance coverage for any judgment that may be rendered.

       Allison reserves the right to supplement these disclosures as additional information

becomes available.

                                           DYKEMA GOSSETT PLLC

                                           By: s/ Brittany M. Schultz_________
                                           Daniel J. Stephenson (admitted pro hac vice)
                                           Lauren L. London (admitted pro hac vice)
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                             and

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                             Attorneys for Allison Defendants




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                                CERTIFICATE OF SERVICE

       I, Brittany M. Schultz, do hereby certify that on June 15, 2007, I served a copy of the
foregoing on the attorneys listed below either by e-filing or mailing accordingly, this 15th day of
June, 2007:



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                                       Attorneys for the Allison Defendants


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